Case 2:03-cr-00047-Z-BR                Document 915             Filed 04/29/05           Page 1 of 3          PageID 2404



                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          AMARILLO DIVISION



  UNITED STATES OF AMERICA                                     §
                                                               §
  v.                                                           §              2:03-CR-0047 (18)
                                                               §
  TODD ALEXANDER MOORE                                         §



                        REPORT AND RECOMMENDATION
           TO DENY MOTION TO VACATE, SET ASIDE OR CORRECT SENTENCE

             On February 8, 2005, defendant TODD ALEXANDER MOORE filed1 with this Court a

  Motion Under 28 U.S.C. Section 2255 to Vacate, Set Aside or Correct Sentence by a Person in

  Federal Custody, wherein he challenges a 72-month sentence assessed on or about October 1,

  2003 after his conviction, pursuant to a guilty plea, for the offense of possession with intent to

  distribute methamphetamine. For the reasons set forth below, defendant is not entitled to relief

  and this motion should be denied.


                                                            I.
                                                          MERITS

             Defendant challenges his sentence based upon the recent United States Supreme Court

  decision in United States v. Booker, ____ U.S. ____, 125 S.Ct. 738, 160 L.Ed.2d 621, 73

  U.S.L.W. 4056 (January 12, 2005). In Booker, the Supreme Court extended the rule announced

  in the prior decisions of Apprendi v. New Jersey; 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435


             1
            A pro se motion is deemed filed at the time it is delivered to prison officials. Spotville v. Cain, 149 F.3d 374,
  376 (5th Cir.1998); see also United States v. Patterson, 211 F.3d 927, 930 (5 th Cir. 2000).

  HAB55\R&R\MOORE.DNY-BOOKER:3
  2:05-CV-0047
Case 2:03-cr-00047-Z-BR            Document 915          Filed 04/29/05     Page 2 of 3      PageID 2405



  (2000), and Blakely v. Washington, ____ U.S. ____, 124 S.Ct. 2531, 159 L.Ed.2d 403, 72

  U.S.L.W. 4546 (June 24, 2004), to the federal Sentencing Guidelines. The rule, essentially held

  that,

             [P]ursuant to the Sixth Amendment, any fact, other than the fact of a prior
             conviction, “which is necessary to support a sentence exceeding the maximum
             authorized by the facts established by a plea of guilty or a jury verdict must be
             admitted by the defendant or proved to a jury beyond a reasonable doubt.” 125 S.
             Ct. at 756. A different majority of the Court then excised certain statutory
             provisions that made the Guidelines mandatory, thereby rendering the Guidelines
             advisory only. Id. at 756-57.

  In re Elwood, No. 05-30269 at 2, April 28, 2005 (5th Cir. 2005) citing Booker. Defendant

  Elwood, just as MOORE in the instant case, alleged that, pursuant to Booker, the district court’s

  application of the Guidelines in determining his sentence violated his Sixth Amendment rights.

  The Fifth Circuit has held, however, that the United States Supreme Court did not make Booker

  retroactive to cases on collateral review. In re Elwood, No. 05-30269 at 3.

             Therefore, under the law of this circuit, defendant’s claim that his sentence, assessed

  under the federal Sentencing Guidelines, is unconstitutional based upon Booker and, thus, should

  be vacated, is foreclosed. Such a claim is not cognizable in a section 2255 action.


                                                 II.
                                           RECOMMENDATION

             It is the RECOMMENDATION of the United States Magistrate Judge to the United

  States District Judge that the motion to vacate, correct or set aside sentence filed by defendant

  TODD ALEXANDER MOORE be DENIED.




  HAB55\R&R\MOORE.DNY-BOOKER:3
  2:05-CV-0047                                     Page 2 of 3
Case 2:03-cr-00047-Z-BR            Document 915         Filed 04/29/05     Page 3 of 3      PageID 2406



                                                III.
                                     INSTRUCTIONS FOR SERVICE

             The United States District Clerk is directed to send a file marked copy of this Report and

  Recommendation to defendant by certified mail, return receipt requested, and to each attorney of

  record by the most efficient means available.

             IT IS SO RECOMMENDED.

             ENTERED this 29th day of April 2005.




                                                   /s/ Clinton E. Averitte
                                                   CLINTON E. AVERITTE
                                                   UNITED STATES MAGISTRATE JUDGE


                                 * NOTICE OF RIGHT TO OBJECT *

          Any party may object to these proposed findings, conclusions and recommendation. In
  the event a party wishes to object, they are hereby NOTIFIED that the deadline for filing
  objections is eleven (11) days from the date of filing as indicated by the file mark on the first
  page of this recommendation. Service is complete upon mailing, Fed. R. Civ. P. 5(b), and the
  parties are allowed a 3-day service by mail extension, Fed. R. Civ. P. 6(e). Therefore, any
  objections must be filed on or before the fourteenth (14th) day after this recommendation is
  filed. See 28 U.S.C. § 636(b); Fed. R. Civ. P. 72(b); R. 4(a)(1) of Miscellaneous Order No. 6, as
  authorized by Local Rule 3.1, Local Rules of the United States District Courts for the Northern
  District of Texas.

          Any such objections shall be made in a written pleading entitled “Objections to the
  Report and Recommendation.” Objecting parties shall file the written objections with the United
  States District Clerk and serve a copy of such objections on all other parties. A party’s failure to
  timely file written objections to the proposed findings, conclusions, and recommendation
  contained in this report shall bar an aggrieved party, except upon grounds of plain error, from
  attacking on appeal the unobjected-to proposed factual findings, legal conclusions, and
  recommendation set forth by the Magistrate Judge in this report and accepted by the district
  court. See Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996);
  Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988).



  HAB55\R&R\MOORE.DNY-BOOKER:3
  2:05-CV-0047                                    Page 3 of 3
